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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

UNITED STATES OF AMERICA                          INDICTMENT

                  v.                              Case No. ______________________

                                                  Violations: 18 U.S.C. §§ 2111,
CADENCE ANDY MORIN                                924(c)(1)(A)(ii), and 1153

                                   COUNT ONE

                                        Robbery

The Grand Jury Charges:

       On or about April 14, 2024, in the District of North Dakota, in Indian country, and

within the exclusive jurisdiction of the United States,

                               CADENCE ANDY MORIN,

an Indian, attempted to take, and did take, from the presence of John Doe 1, Jane Doe,

and John Doe 2, something of value, that is video gaming equipment and accessories, by

force and violence, and intimidation.

       In violation of Title 18, United States Code, Sections 2111 and 1153.
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                                      COUNT TWO

       Brandishing a Firearm During and in Relation to a Crime of Violence

The Grand Jury Further Charges:

       On or about April 14, 2024, in the District of North Dakota,

                                CADENCE ANDY MORIN

did knowingly brandish a firearm during and in relation to a crime of violence for which

he may be prosecuted in a court of the United States, to wit: Robbery, as set forth in

Count One of this Indictment;

       In violation of Title 18, United States Code, Section 924(c)(1)(A)(ii).
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                                 FORFEITURE NOTICE

       Upon conviction of the offenses alleged in Count One and Count Two of this

Indictment,

                               CADENCE ANDY MORIN

shall forfeit to the United States, pursuant to Title 18, United States Code, Section 924(d),

and Title 28, United States Code, Section 2461(c), all firearms and ammunition involved

in the commission of the offense.

                                          A TRUE BILL:

                                          /s/ Foreperson
                                          Foreperson

/s/ Mac Schneider
MAC SCHNEIDER
United States Attorney


SLS/th
